Case 1:17-cv-11525-DJC Document5 Filed 09/11/17 Page 1 of 4

ASHENAFI BERHE,
Case Number: 1:2017ev11525 DSC = |

Complain,
Vs.

All Channels TV and broadband radio
In Boston and other world.

ee ae ae eS

Violations began on January2017 on Race,Color(Black,Non—Hispanic);Sexual Harassment
(perceivedSexual orientation);Relation and National origin (Ethiopian,African );intentional law

violation and international law violation wiretapped .

Motion Facts:

I am Ashenafi Berhe I was discriminated against by all Channel in Boston Ma on basis of
race/color (Black, Non-Hispanic); National origin (Ethiopian, African); sexual harassment.and

intentional violated privacy.

This began in January when I saw my name on all Channel 7, Channel 25, and channel 5 and
channel 4 News all announcing that I should be report if anyone saw me. I called the TV stations
channel 7 news and channel 25 news I call them to clear my name. after I call channel 7 news and

channel 25 news I believe channels 7 news call to Verizon wireless phone providers and other
Case 1:17-cv-11525-DJC Document5 Filed 09/11/17 Page 2 of 4

|
I

phone providers to transmitted my information all call from past thirteen years to now without
“consent” and court order they block to investigate all call voice Porte and other world my family
Porte voice to “thrusts ” without court order . After those all radio and local TV used all my
information and I keep her my name on all local channels TV and other city and state beginning
January month and up on local TV broadband radio on malls and offices and restaurant and
store . channel 7 news gather information and call my community and “see all video” past thirteen
years all my work place and resale all my information “on 98.8 and 945.5 “broadband radio all
my family information and picture transmitted contently to other world without consent . after all
this I her on train transportation Authority news and all malls radio and all office and restaurant,
and store and university’s on radio by my name ashenafi m berhe on YouTube “direct music “and
“back up music”. After that channel 7 news and other channel make “her” the “voice massage”
make movie to my all community her and other world. My family Porte (Tige) or genet and ” “ in
my phone spay recording “transmitted information” to all channels and radio they play back every
day all calls voice Porte to public and other world TV . Those all without my “Consent” and court
order this is also a violation Ethiopian laws and other world international law violation .to “trusted
Ports voice record and composed “ my family voice Through channel 7 News and channel5 news
and other world all “information sale by illegally show to people my self-picture and my family
picture show to hospitals and malls and university’s and offices and stores after this start sale my
family information some my friends start ask “money” on work place and call some company and
this is federal crime and all channels illegally bloke my phone and start contact all thirsting years’
work place and see all voids and some channel contacts some my friend ask my family history and
life” interviews peoples in Boston and other worlds contently interview without my consent and
court order Some channels news TV and radio they say to peoples and media publication to TV
and radio by wrongly interviewed ‘people illegal and publication to people and other world .after
all investigation and block my phone my channel 7 and other channels and 98.8 and 945.5
broadband. Some my friend scan to radio Transmit family’s personal information and record
family “voice ports” and all this without “consent” a record and gave to local channels wrong voice
by illegally. Bing contacted telephone and without my consented, and covered me almost ten
months and plus other information relation family matters on all state local channels and other
world. Don’t assaulted Ashenafi Mom on TV me and my family identity without court and consent.

After those all they say trump to arrest they send money to all my family from all city and state

|
Case 1:17-cv-11525-DJC Document5 Filed 09/11/17 Page 3 of 4

and other world wrote cheek to Tige family stated that the cheek from all world state government
and other world to family by my name ashenafi m berhe see on public stated cheek .I call channel
7 news and channel 4, channel 5 channel 25 and all local TV they never call me. After those stated
cheek I am on local TV all past months and up assaulted and contently sale and cover to world. I
also stated that my cell phone was compromised and bloke almost beginning January and all my
family every time when I call Ethiopia wiretapped. My Identity information sold to radio and

channel 7 news and other radio and other world.

This wiretap and bloke some time call to Ethiopia without court in international law violation to
wiretap call to under age this is all so without “respect .and ask unwanted “relation” to my family.
After those months and up channel 7 news and channel Sand channel 4 and channel 25 sale to
other world TV channel and this a violated international law and family privacy and by “illegally
. after that Some of my friends and other go to my family house in Ethiopia with fake “fire arm”
and “mask” and by inforce take “picture” and “record compose” and “Calling telephone” and
record them give them to local news after that my family they note numerous unwanted call and
“fake interview on air “about my family and send “fake like local police officer to inforce her
and record her to “Mom and my sister to all my family “and “under age children’s” in Ethiopia.
This is all without “consent” and court order. After all this Iam living call on wiretapped and lost
spy to mean family live on wiretapping and this also a “ internationals law violation ” other world
family unable to “privacy” Because her the voice on “radio” and to people on “air . “This also
Assaulted Mom this all stated that my “personal information sale ten month and up and the. Flag
was up/ down and after that “stated Executive order “to me and my family by city and state of
governor world executive YouTube.com order since that all channels and radio they say Trump
to arrests they show the cheek to people and media. However I never get check paid. I stated by
fraud my friends received check wrote tome and this also a federal crime and fraud to pay to other
to cashier wrote under by my name at any bank or other world. Due to all nature of all violation
all channel news and radio and other world channels are responsible and Hela accountable to me

and to my family sale to other my identity and other information to world.

Since January 2017, then I have heard nothing back from all local TV and radio and other world
I have called them several times. All I want stop harassed them and sale to other world. I have

been very sad, anxious, and depressed, and my stomach problems after that trusted Ports illegally

|
Case 1:17-cv-11525-DJC Document5 Filed 09/11/17 Page 4 of 4

without court and consent of my family voice and violated international law unable to privacy and
my family they almost every day pain and anxiety and also they gone to the doctor several times

in the past Seven month for stomach problems other, depression and unable to privacy.

I swear under the pains and penalties of perjury that the above facts are true.

13-08-14 dneeof

Date Ashenafi Berhe
